              Case 2:09-cr-00380-WBS Document 99 Filed 02/07/11 Page 1 of 4


     JOHN R. MANNING (SBN 220874)
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 2
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 3   CR-S-09-380 WBS
     Fax (916) 447-0931
 4
     Attorney for Defendant
 5
     EMILIANO VERA-GIL
 6
                            IN THE UNITED STATES DISTRICT COURT
 7
                          FOR THE EASTERN DISTRICT OF CALIFORNIA
 8

 9
     UNITED STATES OF AMERICA,                      )       No. CR-S-09-380 WBS
                                                    )
10
                                                    )
            Plaintiff,                              )       STIPULATION AND (PROPOSED) ORDER
11
                                                    )       CONTINUING STATUS CONFERNCE
     v.                                             )
12
                                                    )       Judge: Hon. William B. Shubb
     URIEL OCHOA-ESPINDOLA et al.,                  )
13
                                                    )
                                                    )
14          Defendants.                             )
                                                    )
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                                                    )
                                                    )
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18
                    IT IS HEREBY stipulated between the United States of America through its
19
     undersigned counsel, Michael M. Beckwith, Assistant United States Attorney, together with
20
     counsel for defendant Uriel Ochoa-Espindola, Preciliano Martinez, Esq., counsel for defendant
21
     Jose Sergio Espindola, Mark J. Rosenblum, Esq., counsel for defendant Valentin Ramirez-
22
     Cardinez, Robert L. Forkner, Esq., counsel for defendant Rafael Arreola-Sahagun, Dina L.
23
     Santos, Esq., counsel for defendant Emiliano Vera-Gil, John R. Manning, Esq., counsel for
24
     defendant Jose Manuel Vera-Gil, Danny D. Brace, Esq., counsel for defendant Armando
25

26
     Espindola, John R. Durree, Jr., Esq., and counsel for defendant Luis Miguel-Rodrigues, Dan F.

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     Koukol, Esq., that the status conference presently set for February 7, 2011 be continued to

28   March 7, 2011, at 8:30 a.m., thus vacating the presently set status conference. Counsel for the



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              Case 2:09-cr-00380-WBS Document 99 Filed 02/07/11 Page 2 of 4



 1   parties agree that this is an appropriate exclusion of time within the meaning of Title 18, United
 2   States Code § 3161(h) (7) (B) (ii) and (iv) (continuity of counsel/ reasonable time for effective
 3   preparation) and Local Code T4, and agree to exclude time from the date of the filing of the
 4
     order until the date of the status conference March 7, 2011.
 5
                    The parties are requesting more time to continue ongoing plea negotiations. Each
 6
     defendant will need time to consider any plea offer he or she may receive. Additionally, counsel
 7
     for each defendant needs more time to review the discovery in this case, discuss that discovery
 8
     with their respective clients, consider evidence that may affect the disposition of this case, and
 9
     discuss with their clients how to proceed. The parties stipulate and agree that the interests of
10
     justice served by granting this continuance outweigh the best interests of the public and the
11
     defendants in a speedy trial. 18 U.S.C. § 3161 (h) (7) (A).
12
     IT IS SO STIPULATED
13
     Dated: February 3, 2011                               /s/ John R. Manning for
14
                                                           PRECILIANO MARTINEZ
15                                                         Attorney for Defendant
                                                           Uriel Ochoa-Espindola
16
     Dated: February 3, 2011                               /s/ John R. Manning for
17                                                         MARK ROSENBLUM
                                                           Attorney for Defendant
18
                                                           Jose Sergio Espindola
19
     Dated: February 3, 2011                               /s/ John R. Manning for
20                                                         ROBERT FORKNER
                                                           Attorney for Defendant
21                                                         Valentin Ramirez-Cardinez
22   Dated: February 3, 2011                               /s/ John R. Manning for
23
                                                           DINA L. SANTOS
                                                           Attorney for Defendant
24                                                         Rafael Arreola-Sahagun
25   Dated: February 3, 2011                               /s/ John R. Manning
                                                           JOHN R. MANNING
26                                                         Attorney for Defendant
27
                                                           Emiliano Vera-Gil

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                                                       2
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 1   Dated: February 3, 2011                   /s/ John R. Manning for
                                               DANNY D. BRACE, JR.
 2
                                               Attorney for Defendant
 3                                             Jose Manuel Vera-Gil

 4   Dated: February 3, 2011                   /s/ John R. Manning for
                                               DAN KOUKOL
 5
                                               Attorney for Defendant
 6                                             Luis Miguel Orrutia-Rodrigues

 7   Dated: February 3, 2011                   /s/ John R. Manning for
 8
                                               JOHN R. DUREE, JR.
                                               Attorney for Defendant
 9                                             Armando Espindola
10

11
     Dated: February 3, 2011                   Benjamin B. Wagner
                                               United States Attorney
12

13
                                               by: /s/ John R. Manning for
14                                             MICHAEL M. BECKWITH
                                               Assistant United States Attorney
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              Case 2:09-cr-00380-WBS Document 99 Filed 02/07/11 Page 4 of 4



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                            IN THE UNITED STATES DISTRICT COURT
                          FOR THE EASTERN DISTRICT OF CALIFORNIA
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 9

     UNITED STATES OF AMERICA,                      ) No. CR-S-09-380 WBS
10
                                                    )
                                                    )
11          Plaintiff,                              ) ORDER TO
                                                    ) CONTINUE STATUS CONFERNCE
12
     v.                                             )
                                                    )
13
     URIEL OCHOA-ESPINDOLA et al.,                  )
                                                    )
14
                                                    )
            Defendants.                             )
15
                                                    )
                                                    )
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                                                    )
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            GOOD CAUSE APPEARING, it is hereby ordered that the February 7, 2011 status

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     conference be continued to March 7, 2011 at 8:30 a.m. I find that the ends of justice warrant an

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     exclusion of time and that the defendant’s need for continuity of counsel and reasonable time for

22
     effective preparation exceeds the public interest in a trial within 70 days. THEREFOR IT IS

23
     FURTHER ORDERED that time be excluded pursuant to 18 U.S.C. § 3161 (h) (7) (B) (iv) and

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     Local Code T4 from the date of this order to March 7, 2011.

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     IT IS SO ORDERED.
     Dated: February 7, 2011
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